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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION


UNITED STATES OF AMERICA,                        §
                                                 §
                                                 §
V.                                               §           NO. 5:18-CR-059-C
                                                 §
DERRICK ALAN THOMAS                              §


                          MOTION FOR DISCOVERY AND
                   INSPECTION UNDER RULE 16(a)(1)(G) AND BRIEF

        The Defendant moves the Court pursuant to Rule 16(a)(1)(G) of the Federal Rules of
Criminal Procedure and the Fifth and Sixth Amendments to the United States Constitution to
order the government through its Assistant United States Attorney to disclose and produce, and
to permit the Defendant to inspect, copy, photograph and/or photocopy each of the following
items of evidence which through due diligence may become known to the government or its
agents:

                          SUMMARY OF OPINION TESTIMONY

          The defendant moves the Court to order the government to prepare and produce, prior to
trial, a summary of opinion testimony which the government intends to introduce through any
witness testifying as an expert under Rules 702, 703, or 705 of the Federal Rules of Evidence.

       Such summary must describe the witnesses' opinions, the bases and the reasons therefor,
and the witnesses' qualifications.

       Rule 16 of the Rules of Criminal Procedure was amended effective December 1, 1993
with the addition of section (a)(1)(G), renumbered (a)(1)(G) as of December 1, 2002.

       Unlike Rule 16(a)(1)(F), this provision is not limited to scientific experts or to reports
which are in existence at the time of the defense request. Rule 16(a)(1)(G) applies to any expert,
including law enforcement agents/witnesses who may offer expert opinion on a wide variety of
subjects, or to a summary witness testifying pursuant to Rule 1006, Federal Rules of Evidence,
when such a witness also gives expert testimony.




MOTION FOR DISCOVERY AND
INSPECTION UNDER RULE 16(A )(1)(G) AND BRIEF                                                 P AGE 1
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        The rule requires that, on request, the attorney for the government must actually prepare a
summary of the expert witness' testimony which the government intends to offer in its case in
chief at trial, even though a written report does not exist at the time of the defense request.

                                         CONCLUSION

       All of the above items requested are within the exclusive control of the Federal
government, or other agencies acting in conjunction with the Federal government, and since the
defendant and defense counsel have no executive power, the materials requested herein are
unavailable to the defendant.

       WHEREFORE, the defendant prays that the Court order the Assistant United States
Attorney to disclose and produce the above-mentioned evidence to the defendant's counsel for
copying and inspection.


                                             Respectfully submitted,

                                             JASON D. HAWKINS
                                             Federal Public Defender
                                             Northern District of Texas



                                             /s/ Sarah Gunter
                                             Sarah Gunter
                                             Assistant Federal Public Defender
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                                             Attorney for Defendant




MOTION FOR DISCOVERY AND
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                         CERTIFICATE OF CONFERENCE

       I certify that I conferred with Jeff R. Haag, the Assistant U.S. Attorney assigned to this

matter, regarding the filing of the foregoing and he does not oppose said motion to the extent the

motion requests discovery allowed under Rule 16 and Brady.



                                             /s/ Sarah Gunter
                                             Sarah Gunter
                                             Assistant Federal Public Defender



                                CERTIFICATE OF SERVICE

       I, Sarah Gunter, certify that on the 13th day of July, 2018, a copy of the foregoing was

filed through the Electronic Case Filing (“ECF”) System. Pursuant to Rule 9 of Miscellaneous

Order No. 61, this constitutes service of this document to the United States Attorney for the

Northern District of Texas, who is an ECF user.



                                             /s/ Sarah Gunter
                                             Sarah Gunter
                                             Assistant Federal Public Defender




MOTION FOR DISCOVERY AND
INSPECTION UNDER RULE 16(A )(1)(G) AND BRIEF                                                    P AGE 3
